                                                            IT IS ORDERED
                                                            Date Entered on Docket: June 25, 2019




                                                            ________________________________
                                                            The Honorable Robert H Jacobvitz
                                                            United States Bankruptcy Judge

______________________________________________________________________




                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF NEW MEXICO

  IN RE:
  JUAN SANDOVAL
  ROSA I. SANDOVAL,
             Debtor(s).                                                        No. 13-17-11884 JA


                   DEFAULT ORDER DISMISSING BANKRUPTCY CASE

         THIS MATTER came before the Court upon the Chapter 13 Trustee’s Motion to

  Dismiss for failure to make plan payments, filed on May 28, 2019 (doc #81). On May 28, 2019,

  the clerk’s office served notice of the Motion to Dismiss upon the debtor(s), debtor(s)' counsel,

  and all creditors requesting notice, if any, with objections due on June 20, 2019. No timely

  responses to the Motion to Dismiss were filed with the Court. The trustee last received a plan

  payment from the debtors on March 19, 2019. Debtors are $1,007.74 (3 months) in arrears on

  their plan payments through June 21, 2019.




  Case 17-11884-j13        Doc 84     Filed 06/25/19     Entered 06/25/19 16:35:15 Page 1 of 3
        In compliance with the Soldiers’ and Sailors’ Civil Relief Act of 1940, as amended, the

Chapter 13 Trustee certifies under penalty of perjury by her signature herein, that she has

complied with the Servicemembers Civil Relief Act, through receipt of a response from the

Department of Defense Manpower Data Center, which states that Juan Sandoval and Rosa I.

Sandoval are not members of the military service of the United States nor her allies.

        THE COURT, BEING DULY ADVISED, HEREBY ORDERS:

        1.      If any allowed fees charged by Debtor(s)’ counsel remain unpaid, the Chapter 13

trustee is hereby ordered to pay any funds she had on hand as of the date of dismissal to the

Debtor(s)’ counsel rather than the Debtor(s) until such fees have been paid (and also to pay herself

any trustee fees in connection therewith, if a plan has been confirmed). The Court finds that there

is cause to modify the provisions of 11 U.S.C. § 349(b)(3) to such an extent

        2.      If any portion of Debtor(s)’ counsel fees have not yet been approved by the Court,

the Chapter 13 Trustee shall hold sufficient funds on hand as of the date of dismissal until

debtor(s)’ counsel has submitted a final fee application and the Court has ruled on the same.

Debtor(s)’ counsel may file a final fee application within seven days. The deadline to object is

hereby shortened to 10 days, to which three days is added pursuant to Fed.R.Bankr.P.

9006(f). When the fee application has been ruled on, the Trustee shall comply with the provisions

of paragraph 1 of this Order. If a fee application is not timely filed, the Trustee is directed to return

all funds to the Debtor(s).

        3.      The case is dismissed as of the date this Order is entered. The Court retains

jurisdiction to rule on any attorney fees that have not yet been approved. See In re Johnson, 575

F.3d 1079, 1083-84 (10th Cir. 2009) (court retains jurisdiction over core matters despite dismissal

of the underlying bankruptcy case).




Case 17-11884-j13         Doc 84      Filed 06/25/19      Entered 06/25/19 16:35:15 Page 2 of 3
       4.     Any funds the Trustee receives after the date of dismissal shall be disbursed to the

Debtor(s).



                                  ### END OF ORDER ###

 Submitted and approved:

 /s/Tiffany M. Cornejo/submitted
 electronically/tk
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Case 17-11884-j13      Doc 84     Filed 06/25/19     Entered 06/25/19 16:35:15 Page 3 of 3
